                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Mildred Baldwin and Ronald Struckhoff,
on behalf of themselves and others                    Civil No. 20-cv-1502 (JRT/HB)
similarly situated,

              Plaintiffs,
                                                     ORDER SETTING PRETRIAL
v.                                                   SCHEDULING CONFERENCE

Miracle Ear, Inc.,

              Defendant/Third Party Plaintiff,

v.

Las Davis Enterprises, Inc., HearingPro, Inc.,
and Tiffany Davis,

              Third Party Defendants.


       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, a pretrial conference
will be held on December 15, 2020, at 11:00 a.m. CST, before United States Magistrate
Judge Hildy Bowbeer, using a Conference Bridge. Chambers will circulate the call-in
instructions a few days before the conference.

        Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, counsel shall meet 1
prior to the scheduled pretrial conference to discuss settlement and the matters required by
Fed. R. Civ. P. 26(f), and shall jointly prepare and file a complete written Report of the
Rule 26(f) meeting at least one week prior to the pretrial conference. PLEASE NOTE:
The Report must be submitted in the attached format, which is also available in Word
format on the Court’s website. A copy of the Rule 26(f) Report in Word format must
also be e-mailed to Magistrate Judge Bowbeer at bowbeer_chambers@mnd.uscourts.gov.

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        Ordinarily, the Court encourages counsel to physically meet “in-person” unless
they are in different cities and a meeting at which counsel are physically present together
is not practicable. In view of the current COVID-19 pandemic and associated
restrictions, however, by “in-person” the Court means that counsel must hold their
meeting by telephonic or videoconferencing means, not merely by an exchange of emails
or letters.
       Counsel are expected to review and familiarize themselves, before the Rule 26(f)
conference, with recent amendments to the Federal Rules of Civil Procedure and the
Local Rules for this District.

       In addition, counsel for each party shall email to chambers at least one week
before the pretrial conference a confidential settlement letter addressing the matters
described in the attached Rule 26(f) Report form – see No. 2 under the section on
Settlement in the Report form below.

       If any defendant does not have counsel of record listed in this case, Plaintiff bears
the responsibility to (1) immediately notify that party of this conference, and (2) inform
that party of the requirements set forth in this notice.

        Failure of any party or counsel to comply with any part of this Notice may result
in the postponement of the pretrial conference, the imposition of an appropriate sanction
on the party or attorney who failed to comply, or both.

        Lead trial counsel should make every effort to attend the pretrial conference in
person. If this is not possible, substitute counsel who can knowledgeably discuss the
dispute, the matters set forth in Fed. R. Civ. P. 16(c), the Rule 26(f) Report, and the status
of settlement discussions should attend. If lead counsel is not a member of the Minnesota
bar, local counsel should also attend. Counsel should contact Judy Kirby, Magistrate
Judge Bowbeer’s Courtroom Deputy/Judicial Assistant, at 651-848-1900 with respect to
any matters concerning the pretrial conference.

        Magistrate Judge Bowbeer generally discourages attendance by phone at the
pretrial conference except where participation in person would impose an undue burden
in view of the nature of the case, the amount in issue, and the matters likely to be
discussed at the conference. If counsel wishes to appear by phone, please contact
Ms. Kirby at 651-848-1900 prior to the pretrial conference to make arrangements.


Dated: November 17, 2020                    s/ Hildy Bowbeer
                                           HILDY BOWBEER
                                           United States Magistrate Judge
Attachment




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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


*,
                                                                  Civil No. *
                    Plaintiff*,

v.
                                                           RULE 26(f) REPORT
*,

                    Defendant*.


        The parties/counsel identified below participated in the meeting required by
Fed. R. Civ. P. 26(f) and the Local Rules, on ____________, and prepared the following
report.

       The pretrial conference in this matter is scheduled for ____________, 20__,
before United States Magistrate Judge Hildy Bowbeer in Courtroom 6B, Warren E.
Burger Federal Building and U.S. Courthouse, 316 North Robert Street, St. Paul,
Minnesota 55101.

DESCRIPTION OF CASE

      1.     Concise Factual Summary of Plaintiff’s Claims;

      2.     Concise Factual Summary of Defendant’s claims/defenses;

      3.     Statement of Jurisdiction (including statutory citations);

      4.     Summary of Factual Stipulations or Agreements;

      5.     Statement of whether jury trial has been timely demanded by any party;

      6.     Statement of whether all process has been served;

      7.     If applicable, a list of all insurance carriers/indemnitors, including limits of
             coverage of each defendant or statement that the defendant is self-insured;
             and
       8.     If the parties would like the case resolved under the Rules of Procedure for
              Expedited Trials of the United States District Court for the District of
              Minnesota, a statement of the parties’ agreement to that effect.

CLASS CERTIFICATION MOTION (if applicable)

       1.     Plaintiff(s) shall file their motion for class certification on or before
              _____________________.

       2.     Defendant(s) shall file papers in opposition on or before _______________.

       3.     Plaintiff(s’) reply shall be filed on or before
              _________________________.

DISCOVERY

       Pursuant to Fed. R. Civ. P. 26(f), the parties must prepare a discovery plan that is
designed to maximize the efficiency of pretrial case preparation. The parties must review
and address each of the matters set forth in Fed. R. Civ. P. 26(f)(3)(A)-(F) and design a
discovery plan that is appropriate and proportionate to the case. The Court expects
counsel and parties to cooperate in the development and implementation of the discovery
plan, and refers the parties to the Sedona Conference Cooperation Proclamation (2008)
(copy attached).

        The details of the discovery plan should be set forth in this Report. The following
discovery schedule and limitations are intended to guide the parties and should be useful
in the ordinary case; however, the parties are encouraged to reach agreement on, and
suggest to the Court, a discovery plan that takes into account the unique circumstances of
the individual case. To the extent the parties cannot reach agreement on any particular
item, they should set forth their separate positions in this section so that they can be
discussed at the Pretrial Conference.

FACT DISCOVERY

       The parties recommend that the Court establish the following fact discovery
deadlines and limitations:

       1.     The parties must make their initial disclosures required by Rule 26(a)(1) on
              or before ____________________________. If the parties plan to disclose
              documents by describing them by category and location, they will exchange
              copies of the documents themselves on or before ____________________.



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      2.     Fact discovery procedures must be commenced in time to be completed on
             or before _______________________. The parties have discussed whether
             an interim date for the substantial completion of document production
             should be set to facilitate the scheduling and taking of depositions. If so,
             document production should be substantially complete by _____________.

      3.     The parties do / do not believe that discovery should be conducted in
             phases or limited to or focused on certain issues or certain sources before
             others. (If so, describe.)

      4.     The parties propose that the Court limit the use and number of discovery
             procedures as follows:

             a)     No more than a total of _____ interrogatories, counted in accordance
                    with Rule 33(a), shall be served by each party/side. 2
             b)     No more than _____ document requests shall be served by each
                    party/side. The parties understand that objections to document
                    requests must meet the requirements of Rule 34(b)(2)(B) as amended
                    effective December 1, 2015.
             c)     No more than _____ requests for admissions shall be served by each
                    party/side.

      5.     No more than ____ Rule 35 Medical Examinations shall be taken by
             Defendant(s) and completed by ___________________.

      6.     No more than _____ fact depositions, including Rule 30(b)(6) depositions,
             shall be taken by each party/side.

      7.     Where appropriate, the parties are encouraged to discuss possible additional
             agreements concerning limitations on the number and/or length of
             depositions, procedures for noticing and taking Rule 30(b)(6) depositions,
             the arrangements that may be needed for depositions taken outside the U.S.
             and/or in a language other than English, and other issues that, if addressed
             early, could make deposition discovery more cost-effective and avoid
             costly and time-consuming disputes.


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        The parties must discuss and include in this section whether the proposed
limitations should be “per side” or “per party”, along with definitions of those terms if
needed, and whether any of the limitations should refer to the number of requests served
by a particular party or side or on a particular party or side.

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     The parties have reached the following additional agreements concerning
     the taking of depositions: ______________________________.

8.   The parties have agreed upon the following additional limitations on
     discovery procedures: _________________________________.

9.   Other discovery issues.

     a)    Discovery of Electronically Stored Information. The parties have
           discussed issues about preservation, disclosure, production, or
           discovery of electronically stored information, as required by
           Fed. R. Civ. P. 26(f), and request the Court to include the following
           agreement in the scheduling order: __________________________.

           NOTE: If it appears there will be significant electronic discovery,
           the parties should agree upon and attach to this Report an
           Electronically Stored Information (“ESI”) Protocol, identifying any
           differences in position between the parties that should be addressed
           at the Pretrial Conference. The Court refers counsel to “Discussion
           of Electronic Discovery at Rule 26(f) Conferences: A Guide for
           Practitioners,” developed by the Federal Practice Committee, to
           help attorneys and parties prepare for a meaningful discussion of
           electronic discovery issues early in the litigation. The Guide is
           available on the Court’s website under the Court Forms tab, in the
           “Pretrial, Discovery, and Trial Forms” section.

     b)    Claims of Privilege or Work Product Protection. The parties have
           discussed issues about claims of privilege and of protection as
           attorney work-product or trial preparation materials, as required by
           Fed. R. Civ. P. 26(f), including whether the parties agree to a
           procedure to assert these claims after production, or have reached
           any other agreements under Fed. R. Evid. 502. As a result of those
           discussions, the parties:

           i)     Do / do not request the Court to include the following
                  agreement in the scheduling order:

                  The parties agree to follow the procedure set forth in
                  Fed. R. Civ. P. 26(b)(5)(B) regarding information produced in
                  discovery that is subject to a claim of privilege or protection
                  as trial-preparation material. Pursuant to Fed. R. Evid. 502,
                  the inadvertent production of any documents in this
                  proceeding shall not constitute a waiver of any privilege or


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                            protection applicable to those documents in any this or any
                            other federal or state proceeding.

                     ii)    Do / do not request the Court to include the following
                            agreement(s) in the scheduling order:

                            Unless otherwise ordered, the parties are not obligated to
                            include on their privilege logs documents, communications,
                            or other materials that came into existence on or after the date
                            that Plaintiff’s first complaint was filed in this action.

                            Privilege logs must be provided by the producing party [on or
                            before ______________________] OR [within _____ days of
                            the production from which documents were withheld].

                     If the parties have not agreed to the foregoing language, and/or have
                     reached other or additional agreements concerning the process for
                     handling privileged or work product information and wish them to
                     be incorporated into the Pretrial Scheduling Order, those agreements
                     should be set forth here:
                     _________________________________________________.

EXPERT DISCOVERY

(In class action cases, indicate separately whether pre-class certification experts will be
needed and provide the following information for disclosure as to such experts as well.)

      The parties anticipate that they will/will not require expert witnesses at trial, and
propose that the Court establish the following plan for expert discovery:

       1.     The plaintiff(s) anticipate(s) calling _____ (number) of experts in the fields
              of: _____________________________________.

       2.     The defendant(s) anticipate(s) calling _____ (number) of experts in the
              fields of: ________________________________________________.

       3.     Disclosure of the identities of expert witnesses under Rule 26(a)(2)(A) and
              the full disclosures required by Rule 26(a)(2)(B) (accompanied by the
              written report prepared and signed by the expert witness) and the full
              disclosures required by Rule 26(a)(2)(C), shall be made as follows:




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             a)     Identities by Plaintiff 3 on or before __________________________.
                    Disclosures by Plaintiff on or before _________________________.

             b)     Identities by Defendant on or before _________________________.
                    Disclosures by Defendant on or before _______________________.

             c)     Rebuttal identities and disclosures on or before ________________.

      3.     Expert discovery, including depositions, shall be completed by _________.

NON-DISPOSITIVE MOTION DEADLINES

      The parties propose the following deadlines for filing non-dispositive motions:

      1.     Except as provided in paragraph 2 below, any motion that seeks to amend
             the pleadings or to add parties must be filed and served on or before
             ________________________.

      2.     (If applicable) Any motion that seeks to amend the pleadings to add a claim
             for punitive damages must be filed and served on or before
             _____________________.

      3.     Except as provided in paragraph 4 below, all other non-dispositive motions,
             including those that relate to fact discovery, must be filed and served on or
             before ___________________________________. [NOTE: Absent
             unusual circumstances, this date should be no more than two weeks
             following the close of fact discovery.]

      4.     All non-dispositive motions that relate to expert discovery must be filed
             and served on or before ______________________. [NOTE: Absent
             unusual circumstances, this date should be no more than two weeks
             following the close of expert discovery.]

      5.     The parties do / do not propose that a party be required to request an
             informal telephone conference with the Court before filing any formal
             discovery motion.



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       The parties should indicate whether, given the issues in the case, it would be more
meaningful to identify the deadlines by the party who bears the burden of proof on an
issue rather than by plaintiff or defendant.

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PROTECTIVE ORDER

       The parties do / do not intend to submit a proposed Protective Order.

       If either party believes a Protective Order is necessary, the parties shall jointly
submit a proposed Protective Order, identifying any terms on which the parties disagree
so they can be discussed in connection with the pretrial conference.

        PLEASE NOTE: The Court has recently revised its suggested protective order
form and the parties are encouraged to consult that form in preparing a proposed
protective order for entry by the Court
(http://www.mnd.uscourts.gov/local_rules/forms/Stipulation-for-Protective-Order-
Form.pdf or http://www.mnd.uscourts.gov/local_rules/forms/Stipulation-for-Protective-
Order-Form.docx). No protective order may include language purporting to obligate the
Court or the office of the Clerk of Court to destroy or return confidential documents to
the parties after the conclusion of the case. The parties are further directed to Magistrate
Judge Bowbeer’s Practice Pointers and Preferences with regard to this topic (copy
attached). The parties are also reminded that their Stipulation for Protective Order must
be filed in CM/ECF and a Word version of the document must be e-mailed to the
chambers e-mail box.

DISPOSITIVE MOTION DEADLINES

       1.     The parties do / do not believe that expert discovery must be completed
              before dispositive motions are filed.

       2.     The parties do / do not believe that early dispositive motions (i.e, before
              the completion of all fact and expert discovery) on one or more issues could
              be of material assistance in resolving the case. If so, describe:
              __________________________________________________________.

       3.     The parties recommend that all dispositive motions (including Daubert
              motions) be filed and served (and heard, depending on District Judge
              assigned) on or before ____________________.

SETTLEMENT

       1.     The parties must conduct a meaningful discussion about possible settlement
              before the initial pretrial conference, including a written demand by the
              Plaintiff(s) and a written response by each Defendant. The parties must
              also discuss whether private mediation or an early settlement conference
              with the Court (or another form of alternative dispute resolution) would be


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          productive and, if so, when it should occur and what discovery, if any,
          would be necessary to conduct before such a conference.

          The results of that discussion, including any proposals or recommendations,
          are as follows: _______________________________________________.

     2.   Each party must email to Magistrate Judge Bowbeer’s chambers, no later
          than one (1) week before the pretrial conference, a confidential letter of no
          more than three (3) pages, setting forth any additional, confidential
          information about the party’s interest in settlement or possible settlement
          proposals that may be of assistance to Magistrate Judge Bowbeer in
          planning or furthering early settlement efforts. PLEASE NOTE: This
          confidential letter should not advance arguments or positions on issues that
          may come before Magistrate Judge Bowbeer for ruling.

     3.   The Court will discuss this topic with the parties at the pretrial conference
          and will set a date for an early settlement conference or for a status
          conference to determine when the case will be ready for a productive
          settlement conference.

TRIAL

     1.   Trial by Magistrate Judge:

          The parties have/have not agreed to consent to jurisdiction by the
          Magistrate Judge pursuant to Title 28, United States Code, Section 636(c).
          (If the parties agree, the consent form, signed by both parties, should be
          filed with the Clerk of Court.) Please note that if the parties consent to
          magistrate judge jurisdiction, all proceedings, including trial by jury, if any,
          will be before the magistrate judge assigned to the case.

     2.   The parties agree that this case will be ready for trial on _______________.
          The anticipated length of the (bench/jury) trial is ____ days.



DATE: ________________________
                                              Plaintiff’s Counsel
                                              License #
                                              Address
                                              Phone #
                                              E-mail


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DATE: ________________________
                                     Defendant’s Counsel
                                     License #
                                     Address
                                     Phone #
                                     E-mail




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             MAGISTRATE JUDGE HILDY BOWBEER
               Practice Pointers and Preferences


CONTACT WITH CHAMBERS

                  Chambers phone: (651) 848-1900
        Chambers email: bowbeer chambers@mnd.uscourts.gov
           Courtroom Deputy/Judicial Assistant: Judy Kirby
 •   Magistrate Judge Bowbeer’s last name is pronounced Bōw-beer. The accent is
     on the first syllable.

 •   Magistrate Judge Bowbeer encourages you to call her chambers and speak with
     her Courtroom Deputy/Judicial Assistant, if you have questions about her
     practice pointers and preferences.

 •   The Court is aware that incarcerated, detained, or otherwise confined individuals
     may not be able to comply with all of these practice pointers. In such cases, the
     Court expects compliance only to the extent possible and practical.

 •   Members of Magistrate Judge Bowbeer’s chambers have been instructed not to
     provide answers to legal questions over the telephone. This includes procedural
     questions that would be governed by the Federal Rules of Civil Procedure or the
     Local Rules for the District of Minnesota.

 •   When calling in for a scheduled telephone conference with Magistrate Judge
     Bowbeer, the moving party must have all parties on the line before calling
     chambers unless otherwise instructed by the Court.

 •   When calling the Court with a question regarding a specific case, please first
     identify yourself and the party you represent, and have the case name and
     number ready.

 •   When sending e-mail to the chambers, please be sure to include the case
     number and short name of the case in the Subject line.

 •   If you need clarification regarding an order entered by Magistrate Judge
     Bowbeer, please do not call chambers. Instead, file a letter on CM/ECF asking
     Magistrate Judge Bowbeer for clarification.

 •   If you have a question about how to file a document on CM/ECF, please call the
     Technical Help Desk in the office of the Clerk of Court at (612) 664-5155. You


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     are also directed to the District’s CM/ECF page, which has a number of useful
     resources. http://www.mnd.uscourts.gov/cmecf/reference guides.shtml

 •   Requests for hearing transcripts are now handled through CM/ECF. Please
     contact the office of the Clerk of Court at 651-848-1100 or the Technical Help
     Desk at 612-664-5155 if you have any questions.

FIRST PRETRIAL CONFERENCE
 •   Pursuant to the Notice of Pretrial Conference, the parties must submit in advance
     of the pretrial conference a Rule 26(f) Report in the form attached to the Notice
     issued by the Court.

 •   The Court refers counsel to “Discussion of Electronic Discovery at Rule 26(f)
     Conferences: A Guide for Practitioners,” developed by the Federal Practice
     Committee to help attorneys and parties prepare for a meaningful discussion of
     electronic discovery issues early in the litigation. The Guide is available on the
     Court’s website under the Court Forms tab, in the Pretrial, Discovery, and Trial
     Forms section.

 •   Email a courtesy copy of the pretrial conference Rule 26(f) Report in Word format
     to chambers at bowbeer chambers@mnd.uscourts.gov when it is filed on ECF.
     A hard copy of the Rule 26(f) Report is not required.

 •   In addition to the Rule 26(f) Report, each party must email to Magistrate Judge
     Bowbeer’s chambers by the date specified in the Notice of Pretrial Conference a
     confidential letter setting forth what settlement discussions have taken place and
     whether the party believes an early settlement conference would be productive.

 •   If any party believes a protective order will be necessary, it should raise the
     subject with all other parties during the Rule 26(f) meet-and-confer, and attempt
     to reach agreement as to the terms of the protective order to the extent possible
     before the Rule 26(f) Report is filed. The proposed protective order should be
     emailed to chambers in Word format along with the courtesy copy of the Rule
     26(f) Report, identifying any areas of disagreement so that they can be discussed
     at the pretrial conference. (See Protective Orders and Sealed Documents,
     below.)

 •   Participation in Rule 16 conferences should ordinarily be in person, with lead trial
     counsel and local counsel (if lead counsel is not admitted to the Minnesota bar)
     present. However, participation by telephone will be considered at the request of
     a party where attendance in person would impose an undue burden or expense
     in view of the nature of the case, the amount in issue, and the matters likely to be
     discussed at the conference. Magistrate Judge Bowbeer welcomes the



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     attendance of newer lawyers, externs, law clerks, and mentees at Rule 16
     conferences.

PROTECTIVE ORDERS AND SEALED DOCUMENTS
 •   If any party believes any of the documents or information likely to be produced or
     cited in the case should be restricted in access or use during the pendency of the
     case, the parties are encouraged to seek a protective order at the inception of
     the case, before discovery begins. If no protective order is in place by the time
     documents are to be produced, documents asserted to be confidential may not
     be withheld on the basis that no protective order is yet in place. Instead, the
     producing party must produce the documents to opposing counsel for attorney’s
     review only; after the protective order is entered, the producing party must
     designate the documents under the protective order.

 •   If a party files a document containing confidential information with the Court, it
     must do so in accordance with Local Rule 5.6. The joint motion for continued
     sealing must be filed using the Joint Motion Regarding Continued Sealing Form.
     See http://www.mnd.uscourts.gov/FORMS/Clerks Office/Joint-Motion-Form.pdf.
     The parties are reminded that the designation of material by a party during
     discovery as confidential pursuant to a protective order, while sufficient to justify
     the initial filing of the document under temporary seal, will not by itself justify
     continued sealing. The joint motion must identify with specificity the portions of
     each document the party or parties consider to be confidential (ideally by
     reference to a redacted document already on file or attached to the joint motion)
     and the specific reasons for the claim of confidentiality, tailored to the particular
     information at issue.

 •   If a party files a document under seal in connection with a motion to be heard by
     Magistrate Judge Bowbeer, the party must hand-deliver to her chambers a
     courtesy hard copy of that document on which the confidential information (i.e.,
     the information that was redacted from the publicly filed document) is
     highlighted in yellow. The sealing of entire pleadings, memoranda of law,
     exhibits, and the like is strongly discouraged; however, in the rare event that an
     entire document is filed under seal, the courtesy hard copy of that document
     must so note. Courtesy hard copies must be delivered to Magistrate Judge
     Bowbeer’s chambers the same day the documents are filed on CMECF.

 •   Counsel are strongly encouraged to meet and confer to the extent practicable
     prior to filing documents under seal to attempt to reach agreement on whether
     information designated by a party as confidential pursuant to a protective order
     should be de-designated and therefore need not be filed under seal.




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STIPULATIONS AND PROPOSED ORDERS
 •   Counsel must comply with the electronic filing rules relating to the submission of
     stipulations and proposed orders. A stipulation must be filed electronically. A
     courtesy hard copy of the stipulation is not required. A proposed order must be a
     separate document, in Word format, emailed to chambers at
     bowbeer chambers@mnd.uscourts.gov, and must reference the docket number
     of the motion or stipulation to which it relates. If the proposed order is a
     protective order, please restate the text of the protective order within the
     proposed order rather than simply referring to the motion or stipulation.

 •   For non-dispositive motions, the proposed order must specifically identify the
     relief you seek (for example, for a motion to compel, identify in your proposed
     order each discovery request for which you seek relief and the relief sought)
     rather than simply state that the motion is “granted” or “denied.”

 •   Even where the parties agree upon the relief sought, a stipulation or joint motion
     must always include the information required by the Local Rules (for example, in
     a stipulation for modification of the scheduling order, the information required by
     Local Rule 16.3) to support the request for relief.

SCHEDULING AND CONDUCT OF HEARINGS
 •   The obligation to meet and confer before filing a non-dispositive motion, as set
     forth in the Local Rules, is critical. A mere exchange of emails or letters without
     diligent attempts at personal contact will generally not be considered sufficient to
     discharge this obligation.

 •   All motions to be heard by Magistrate Judge Bowbeer must be scheduled
     through her Courtroom Deputy, at 651-848-1900. Pursuant to Local Rule 7.1(b),
     a date for the hearing of any non-dispositive motion must be obtained
     before the motion is filed.

 •   All non-dispositive motions must be filed and served, but need not be fully briefed
     or heard, by the applicable deadline set forth in the scheduling order.

 •   When scheduling a motion, the parties should work together and inform the
     Courtroom Deputy of all motions pending or anticipated in a particular case so
     that they can be heard at the same time. The parties should also inform the
     Courtroom Deputy if there are related cases with related motions.

 •   When a motion must be rescheduled, it is helpful to have all parties on the line at
     the same time so that a new date/time can be provided that will work for all
     parties.



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 •   Even if the parties to a dispute agree that the motion can be submitted on the
     papers without a hearing, the moving party must call the Courtroom Deputy to set
     the date for submission of the matter to the Court. The matter will be deemed
     submitted upon receipt of the last filing. Magistrate Judge Bowbeer ultimately will
     determine whether to hold a hearing on the matter.

 •   As a general rule, Magistrate Judge Bowbeer schedules an hour for hearings.
     You must inform the Courtroom Deputy well ahead of time if you anticipate that
     more time will be needed so that Magistrate Judge Bowbeer and court personnel
     can arrange their schedules accordingly. Once a motion has been scheduled, do
     not add motions without calling the Courtroom Deputy to make sure there is
     enough time scheduled for all of the motions to be heard.

 •   Before filing a formal non-dispositive motion on a particular dispute, the parties
     should confer on whether the issue can be resolved instead through an informal
     telephone conference with Magistrate Judge Bowbeer. Please see the
     applicable pretrial order for the process, limitations, and expectations regarding
     this informal dispute resolution option.

 •   If a motion or case is resolved, please notify chambers as soon as possible so
     that any scheduled hearing can be removed from the calendar. If a motion has
     been partially resolved, please notify chambers to let the Court know what parts
     have been resolved and no longer need to be addressed by the Court. If time
     permits, notification should be by joint stipulation, as provided by Local Rule
     7.1(a)(2).

WRITTEN SUBMISSIONS
 •   Before you file any motion, make sure you are in compliance with the Local
     Rules and the pretrial scheduling order in effect in the case. For example, all
     motions to modify the pretrial scheduling order require compliance with Local
     Rule 16.3.

 •   Magistrate Judge Bowbeer expects strict adherence to the word count, type size,
     and format requirements set forth in the Local Rules. Magistrate Judge Bowbeer
     strongly discourages the use of procedural devices (such as splitting a motion to
     dismiss several counts of a complaint into separate motions) to circumvent the
     word count limit. You must obtain leave of Court before filing a memorandum or
     other submission that exceeds the word count or page limits set by this Court,
     the Local Rules, or the Federal Rules of Civil Procedure.

 •   For all motions to compel discovery, Magistrate Judge Bowbeer requires that
     each interrogatory or request, response, and objection at issue be set forth
     verbatim within your memorandum of law, followed immediately by your
     explanation of why the discovery is needed for your case and why the response


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    is inadequate or the objection improper. Magistrate Judge Bowbeer will not
    address any discovery dispute that is not raised in this manner. If, because of
    the number of requests at issue, this requirement would cause a party to exceed
    the word count limit set forth in the Local Rules, Magistrate Judge Bowbeer will
    entertain a request for relief from the word count limit under Local Rule
    7.1(f)(1)(D).

•   You may file a reply memorandum as a matter of right in connection with a
    motion for leave to amend a pleading if the other side argues that the
    amendment would be futile, provided that you file your initial motion and
    supporting papers no less than 21 days before the hearing date, and you file your
    reply no more than 7 days after the other side files its response arguing futility.
    To anticipate this expanded briefing schedule, the parties must discuss during
    the required pre-motion meet-and-confer whether the other side intends to argue
    futility. In such cases, the total word count for the opening and reply memoranda
    may not exceed 12,000 words unless otherwise authorized.

    For all other non-dispositive motions, you must obtain leave of Court before filing
    a reply memorandum. If the court grants leave to file a reply, the reply must be
    e-filed and delivered to chambers no later than four days after the filing of a
    response to a non-dispositive motion. For a case involving one or more parties
    who are not on the court’s CM/ECF system (e.g., a case involving pro se
    litigants), the Court will set a date by which any reply is to be served and filed.
    Unless otherwise authorized, the reply memorandum may not exceed 1,750
    words, including footnotes, and the total word count for the opening and reply
    memoranda may not exceed 12,000 words.

•   As soon after filing as practicable, the parties must hand-deliver one courtesy
    hard copy of each document filed with the Court. The hard copy should be
    collated and organized, with the CM/ECF legend showing the docket number of
    the filed materials at the top of each page. If it is not practicable to provide a
    copy with the CM/ECF legend, please label each page with the applicable
    CM/ECF docket number. Attachments and exhibits should be paginated and
    accompanied by an index that explains where specific exhibits can be found in
    the attachments. Any reference to an exhibit or attachment in your brief or
    memorandum should be precise enough to allow the Court to find the relevant
    page or pages quickly and easily. If the materials are very voluminous,
    Magistrate Judge Bowbeer and her staff would appreciate receiving the courtesy
    copies 3-hole punched with tabbed documents and exhibits; please do not
    submit the materials in binders. The copies can be delivered to the Clerk’s
    Office.

•   Any exhibits filed electronically must be attached to an affidavit that explains
    where specific exhibits can be found in the electronic attachments.



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 •   A motion to amend a pleading or a scheduling order must be accompanied by a
     “redline” version of the proposed amended pleading or order showing the
     differences between it and the original.

 •   If you file a letter to Magistrate Judge Bowbeer on ECF, even if filed at her
     request or with her permission, you must also email a copy of the letter to
     bowbeer chambers@mnd.uscourts.gov, copying counsel of record. This is
     particularly important on time-sensitive matters, as documents filed on ECF will
     ordinarily not come to the Court’s attention until the next business day. Nothing
     in this paragraph, however, should be viewed as granting permission to file or
     send a letter that has not been requested by the Court or otherwise authorized by
     Court order or the Rules.

SETTLEMENT CONFERENCES
 •   Be sure to read thoroughly and comply fully with any Order for Settlement
     Conference issued by the Court. Among other things, this Order requires the
     parties to send to the Court, in advance of the conference, a confidential letter
     addressing several topics. That letter is critical not only to the Court’s
     preparation for a productive conference, but also to your and your client’s
     preparation.

 •   All parties whose authority is necessary to settle the case must attend in person.
     Party representatives and their counsel must be prepared to spend the entire
     day, and even the evening, at the settlement conference. They should,
     therefore, be prepared to change any commitments, events, or travel plans they
     may have made for the afternoon or evening, if Magistrate Judge Bowbeer
     concludes that the parties are making or could yet make progress at the
     conference.

 •   Magistrate Judge Bowbeer may sua sponte schedule status conferences or
     settlement conferences to explore options for alternative dispute resolution.
     In addition, Magistrate Judge Bowbeer will in her discretion consider joint or
     ex parte requests that she schedule a settlement conference or otherwise assist
     in settlement negotiations, provided that the content of any ex parte request must
     be strictly limited to the topic of settlement and may not comment on any matter
     that may come before Magistrate Judge Bowbeer for a ruling. Such requests
     must be submitted by email to bowbeer chambers@mnd.uscourts.gov.
     Magistrate Judge Bowbeer will treat such ex parte requests as confidential
     unless otherwise advised.




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IN COURT
 •   Judge Bowbeer expects that in both written submissions and oral argument,
     counsel will focus on the merits of their client's position and refrain from rhetoric
     that denigrates the intelligence, ethics, morals, motives, integrity, or personal
     behavior of the opposing party or its counsel, unless such matters are directly at
     issue in the proceeding.

 •   Be prompt. Counsel and parties should allow enough time for travel, taking into
     account weather, traffic congestion and road construction, to ensure that they will
     be present and ready to proceed at the designated starting time.

 •   Do not bring food or beverages, other than water, into the courtroom.

 •   Magistrate Judge Bowbeer has no preference as to which side sits at which
     counsel table.

 •   Stand at the podium when addressing the Court and counsel, and speak directly
     into the microphone. The podium can be adjusted up and down.

 •   Direct your oral arguments to the Court, not to opposing counsel, the law clerk, or
     to other court personnel.

 •   Address the Court and opposing counsel with civility and formality.

 •   In preparing for oral argument, keep in mind that Magistrate Judge Bowbeer will
     have read all timely-filed written submissions. Therefore, rather than repeating
     the arguments set forth in your written submissions, focus your oral argument on
     responding to your opponent’s arguments.

 •   If you submit additional case law or exhibits at oral argument, you must first
     furnish such materials to opposing counsel. Bring enough copies to provide one
     each to other parties represented at the motion and two for the Court.

 •   If you intend to use courtroom technology during hearings or at trial, please
     become familiar with it before the hearing. Training can be arranged through the
     Courtroom Deputy. Please bring hard copies of any PowerPoint™ or other
     presentation graphics for the Court and opposing counsel.

 •   Magistrate Judge Bowbeer is located in the St. Paul Courthouse, Courtroom 6B,
     but on occasion may hold hearings in Minneapolis. Please make sure to verify
     the location of the hearing in advance of the hearing date to avoid delays
     resulting from going to the wrong courthouse.




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OPPORTUNITIES FOR LESS-EXPERIENCED LAWYERS.
 •   Magistrate Judge Bowbeer strongly encourages parties and lead counsel to
     consider opportunities for less-experienced lawyers to take speaking roles in
     conferences, hearings, trials, and other litigation proceedings. In furtherance of
     this goal, she is willing to consider modifying her typical courtroom procedures
     where appropriate in order to facilitate, or remove potential barriers to, those
     opportunities.

 •   Pretrial Planning: The Rule 26(f) process, the Rule 16 conference, and final
     pretrial conferences are occasions for counsel to discuss with their respective
     clients, with each other, and, where applicable, with the Court, case-appropriate
     opportunities and accommodations for less-experienced lawyers to participate
     more fully throughout the litigation. These opportunities for participation include,
     for example, the Rule 16 conference and other court conferences, depositions,
     meet and confers, motion practice, settlement conferences, and trial.

 •   Motion Hearings: Indisputably, the decision of who should argue a motion is
     that of lead counsel in consultation with the client. But a less-experienced lawyer
     who was deeply involved in the preparation of motion papers may be more
     knowledgeable about the facts, circumstances, and law underlying that motion,
     and therefore of greater assistance to the Court’s understanding, than the more
     senior lawyer who might ordinarily make the argument. Accordingly, Magistrate
     Judge Bowbeer encourages the parties and their counsel to consider having that
     less-experienced lawyer handle all or part of the oral argument on a motion in
     which he or she was significantly involved. To facilitate a speaking opportunity
     for a less-experienced attorney, Magistrate Judge Bowbeer is willing, upon timely
     request, to make reasonable accommodations such as, for example, allowing the
     argument to be split between counsel, providing additional time for argument,
     and/or permitting the less-experienced lawyer who makes the argument an
     opportunity to consult with lead counsel if an issue arises that requires the latter’s
     input.

 •   Settlement Conferences: Magistrate Judge Bowbeer expects that lead trial
     counsel will attend all settlement conferences, as the client will look to that
     attorney for insight and guidance about the strengths, challenges, and costs of its
     case and the comparative value of a possible settlement. That said, the parties
     and their counsel are encouraged to consider whether a less-experienced
     attorney who has played a significant role in the litigation should also attend the
     settlement conference. That less-experienced attorney may be able to bring an
     additional valuable perspective to the process if, for example, he or she has built
     a relationship of trust with the client, is particularly familiar with key documents or
     testimony, or is conversant with the case law around a pivotal legal issue.




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•   Trials: In cases in which the parties have consented to Magistrate Judge
    Bowbeer for all purposes, including trial, counsel are encouraged to discuss with
    their respective clients and with opposing counsel case-appropriate opportunities
    and accommodations for less-experienced lawyers to participate at trial, and to
    discuss this subject with Magistrate Judge Bowbeer during the final pretrial
    conference. To facilitate those opportunities, Magistrate Judge Bowbeer may
    permit, upon timely request and to the extent consistent with available time and
    the attention and understanding of the jury, accommodations such as splitting of
    oral arguments on disputed issues, allowing additional time for oral arguments,
    permitting a less-experienced lawyer to conduct a portion of the examination of a
    witness, permitting both a less-experienced and more experienced lawyer to
    defend the same witness and make non-cumulative objections, and/or splitting of
    opening statements and closing arguments.

•   No Adverse Inferences: Magistrate Judge Bowbeer will draw no inference
    about the importance or merits of a particular issue, witness, or motion based on
    the relative seniority of the lawyer involved. She will not assume, for example,
    that a motion is less meritorious or less important because a less-experienced
    attorney has been selected to argue it. At the same time, she recognizes that
    there may be a number of reasons why a client or lead counsel may choose not
    to have a less-experienced attorney take on a particular speaking role, and she
    will draw no adverse inference from that choice. But regardless of the selection of
    counsel for any speaking opportunity, all attorneys appearing before Magistrate
    Judge Bowbeer are expected to be adequately prepared and thoroughly familiar
    with the factual record, the applicable law, and the materials filed with the Court,
    and to conduct themselves in accordance with the highest standards of
    professionalism and civility.




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  The Sedona Conference Cooperation Proclamation



              The Sedona Conference Cooperation Proclamation

  The Sedona Conference launches a coordinated effort to promote cooperation by all parties to the discovery
                            process to achieve the goal of a “just, speedy, and
                              inexpensive determination of every action.”
The costs associated with adversarial conduct in pre-trial discovery have become a serious burden
to the American judicial system. This burden rises significantly in discovery of electronically stored
information (“ESI”). In addition to rising monetary costs, courts have seen escalating motion
practice, overreaching, obstruction, and extensive, but unproductive discovery disputes – in some
cases precluding adjudication on the merits altogether – when parties treat the discovery process in an
adversarial manner. Neither law nor logic compels these outcomes.
With this Proclamation, The Sedona Conference launches a national drive to promote open and
forthright information sharing, dialogue (internal and external), training, and the development
of practical tools to facilitate cooperative, collaborative, transparent discovery. This Proclamation
challenges the bar to achieve these goals and refocus litigation toward the substantive resolution of legal
disputes.

Cooperation in Discovery is Consistent with Zealous Advocacy
Lawyers have twin duties of loyalty: While they are retained to be zealous advocates for their clients,
they bear a professional obligation to conduct discovery in a diligent and candid manner. Their
combined duty is to strive in the best interests of their clients to achieve the best results at a reasonable
cost, with integrity and candor as officers of the court. Cooperation does not conflict with the
advancement of their clients’ interests - it enhances it. Only when lawyers confuse advocacy with
adversarial conduct are these twin duties in conflict.
Lawyers preparing cases for trial need to focus on the full cost of their efforts – temporal, monetary,
and human. Indeed, all stakeholders in the system – judges, lawyers, clients, and the general public
– have an interest in establishing a culture of cooperation in the discovery process. Over-contentious
discovery is a cost that has outstripped any advantage in the face of ESI and the data deluge. It is not
in anyone’s interest to waste resources on unnecessary disputes, and the legal system is strained by
“gamesmanship” or “hiding the ball,” to no practical effect.
Effort to change the culture of discovery from adversarial conduct to cooperation is not utopian.1 It is,
instead, an exercise in economy and logic. Establishing a culture of cooperation will channel valuable
advocacy skills toward interpreting the facts and arguing the appropriate application of law.




1 Gartner RAS Core Research Note G00148170, Cost of eDiscovery Threatens to Skew Justice System, 1D# G00148170, (April 20,
2007), at http:// www.h5technologies.com/pdf/gartner0607.pdf . (While noting that “several . . . disagreed with the suggestion [to
collaborate in the discovery process] . . . calling it ‘utopian’”, one of the “take-away’s” from the program identified in the Gartner Report
was to “[s]trive for a collaborative environment when it comes to eDiscovery, seeking to cooperate with adversaries as effectively as
possible to share the value and reduce costs.”).


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Cooperative Discovery is Required by the Rules of Civil Procedure
When the first uniform civil procedure rules allowing discovery were adopted in the late 1930s,
“discovery” was understood as an essentially cooperative, rule-based, party-driven process, designed to
exchange relevant information. The goal was to avoid gamesmanship and surprise at trial. Over time,
discovery has evolved into a complicated, lengthy procedure requiring tremendous expenditures of
client funds, along with legal and judicial resources. These costs often overshadow efforts to resolve
the matter itself. The 2006 amendments to the Federal Rules specifically focused on discovery of
“electronically stored information” and emphasized early communication and cooperation in an effort
to streamline information exchange, and avoid costly unproductive disputes.
Discovery rules frequently compel parties to meet and confer regarding data preservation, form of
production, and assertions of privilege. Beyond this, parties wishing to litigate discovery disputes must
certify their efforts to resolve their difficulties in good faith.
Courts see these rules as a mandate for counsel to act cooperatively.2 Methods to accomplish this
cooperation may include:
     1. Utilizing internal ESI discovery “point persons” to assist counsel in preparing requests and
        responses;
     2. Exchanging information on relevant data sources, including those not being searched, or
        scheduling early disclosures on the topic of Electronically Stored Information;
     3. Jointly developing automated search and retrieval methodologies to cull relevant information;
     4. Promoting early identification of form or forms of production;
     5. Developing case-long discovery budgets based on proportionality principles; and
     6. Considering court-appointed experts, volunteer mediators, or formal ADR programs to resolve
        discovery disputes.

The Road to Cooperation
It is unrealistic to expect a sua sponte outbreak of pre-trial discovery cooperation. Lawyers frequently
treat discovery conferences as perfunctory obligations. They may fail to recognize or act on
opportunities to make discovery easier, less costly, and more productive. New lawyers may not yet
have developed cooperative advocacy skills, and senior lawyers may cling to a long-held “hide the
ball” mentality. Lawyers who recognize the value of resources such as ADR and special masters may
nevertheless overlook their application to discovery. And, there remain obstreperous counsel with no
interest in cooperation, leaving even the best- intentioned to wonder if “playing fair” is worth it.



2 See, e.g., Board of Regents of University of Nebraska v BASF Corp. No. 4:04-CV-3356, 2007 WL 3342423, at *5 (D. Neb. Nov. 5, 2007) (“The
overriding theme of recent amendments to the discovery rules has been open and forthright sharing of information by all parties to a case with the aim of
expediting case progress, minimizing burden and expense, and removing contentiousness as much as practicable. [citations omitted]. If counsel fail in this
responsibility—willfully or not—these principles of an open discovery process are undermined, coextensively inhibiting the courts’ ability to objectively
resolve their clients’ disputes and the credibility of its resolution.”).



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This “Cooperation Proclamation” calls for a paradigm shift for the discovery process; success will not
be instant. The Sedona Conference views this as a three-part process to be undertaken by The Sedona
Conference Working Group on Electronic Document Retention and Production (WG1):
         Part I: Awareness - Promoting awareness of the need and advantages of cooperation, coupled
         with a call to action. This process has been initiated by The Sedona Conference Cooperation
         Proclamation.
         Part II: Commitment - Developing a detailed understanding and full articulation of the issues
         and changes needed to obtain cooperative fact-finding. This will take the form of a “Case for
         Cooperation” which will reflect viewpoints of all legal system stakeholders. It will incorporate
         disciplines outside the law, aiming to understand the separate and sometimes conflicting
         interests and motivations of judges, mediators and arbitrators, plaintiff and defense counsel,
         individual and corporate clients, technical consultants and litigation support providers, and the
         public at large.
         Part III: Tools - Developing and distributing practical “toolkits” to train and support lawyers,
         judges, other professionals, and students in techniques of discovery cooperation, collaboration,
         and transparency. Components will include training programs tailored to each stakeholder;
         a clearinghouse of practical resources, including form agreements, case management orders,
         discovery protocols, etc.; court-annexed e-discovery ADR with qualified counselors and
         mediators, available to assist parties of limited means; guides for judges faced with motions
         for sanctions; law school programs to train students in the technical, legal, and cooperative
         aspects of e-discovery; and programs to assist individuals and businesses with basic e-record
         management, in an effort to avoid discovery problems altogether.

Conclusion
It is time to build upon modern Rules amendments, state and federal, which address e-discovery.
Using this springboard, the legal profession can engage in a comprehensive effort to promote pre-trial
discovery cooperation. Our “officer of the court” duties demand no less. This project is not utopian;
rather, it is a tailored effort to effectuate the mandate of court rules calling for a “just, speedy, and
inexpensive determination of every action” and the fundamental ethical principles governing our
profession.




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